           Case 1:21-cr-00109-TJK Document 16 Filed 08/03/21 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            §
                                                    §            1:21-CR-109-TJK-1
      versus                                        §
                                                    §       JUDGE TIMOTHY J. KELLY
TAM DINH PHAM                                       §

                         DEFENDANT’S UNOPPOSED MOTION
                    TO CONTINUE AUGUST 16 STATUS CONFERENCE

TO THE HONORABLE TIMOTHY J. KELLY:

        Defendant Tam Pham files this unopposed motion to continue the August 16 status

conference in this case, and shows the following in support of this request:

1.      Mr. Pham is charged in a criminal information with four misdemeanor offenses: 1) Entering and

Remaining in a Restricted Building, in violation of Title 18, United States Code, Section 1752(a)(1); 2)

Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18, United States Code,

Section 1752(a)(2); 3) Violent Entry and Disorderly Conduct in a Capitol Building , in violation of Title

40, United States Code, Section 5104(e)(2)(D); and 4) Parading, Demonstrating, or Picketing in a

Capitol Building, in violation of Title 40, United States Code, Section 5104(e)(2)(G).

2.      Mr. Pham is in compliance with the conditions of his pretrial release.

3.      A status conference is scheduled for August 16, 2021, at 10:00 am.

4.      The prosecution continues to provide discovery. The parties are also continuing negotiations

aimed at resolving this case without a trial.

5.      The parties believe the requested continuance will allow for further production and review of

discovery, and might facilitate resolution of this case short without a trial. The parties further believe

exclusion of this time would be appropriate under the Speedy Trial Act pursuant to 18 U.S.C.

§3161(h)(7) as the exclusion would serve the ends of justice and outweigh the interest of the public and
          Case 1:21-cr-00109-TJK Document 16 Filed 08/03/21 Page 2 of 2




of Mr. Pham in a Speedy Trial.

6.     Mr. Pham requests the Court continue the August 16 status conference.



                                                   Respectfully submitted,

                                                   /s/ David Adler
                                                   ____________________
                                                   David Adler
                                                   State Bar of Texas 00923150
                                                   D.C. Bar TX0190
                                                   6750 West Loop South
                                                   Suite 120
                                                   Bellaire (Houston), Texas 77401
                                                   (713) 666-7576
                                                   (713) 665-7070 (Fax)

                                                   Attorney for Defendant,
                                                   Tam Pham


                                   CERTIFICATE OF SERVICE

       This pleading was delivered to the AUSA via CM/ECF on August 3, 2021.

                                                   /s/ David Adler
                                                   ____________________
                                                   David Adler


                                 CERTIFICATE OF CONFERENCE

       The AUSA is unopposed to this motion.

                                                   /s/ David Adler
                                                   ____________________
                                                   David Adler




                                               2
